       Case 2:25-cv-00814-CBB         Document 1          Filed 06/13/25   Page 1 of 18




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

Robert Burns, Administrator of the       :           CIVIL ACTION
Estate of Ryan Burns                     :           TRIAL BY JURY DEMANDED
423 Lime Hollow Road, Apt. 2             :
Verona, PA 15147,                        :
                                         :
               Plaintiff                 :
                                         :
               v.                        :
                                         :
Butler County                            :
202 S. Washington St.                    :
Butler, PA 16001                         :
                                         :
PrimeCare Medical, Inc.                  :
202 S. Washington St.                    :
Butler, PA 16001                         :
                                         :
Beau Sneddon, Warden                     :
202 S. Washington St.                    :
Butler, PA 16001                         :
                                         :
Jennifer Passarelli, Deputy Warden       :
202 S. Washington St.                    :
Butler, PA 16001                         :
                                         :
Sheriff Michael Slupe, Chairman of the   :
Prison Board                             :
202 S. Washington St.                    :
Butler, PA 16001                         :
                                         :
Correctional Officer Bauer, CO Denny,    :
Cpt. Popinsky, Sgt. Emery, CO McClure, :
and CO John Doe                          :
202 S. Washington St.                    :
Butler, PA 16001                         :
                                         :
Sheila Stovar, Shannon George, Kristin   :
Pigza, Cheyenne Safranek, Monica McCabe, :
and John Doe Medical Provider            :
202 S. Washington St.                    :
Butler, PA 16001,                        :
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                                                1
        Case 2:25-cv-00814-CBB           Document 1          Filed 06/13/25    Page 2 of 18




                                               :
               Defendants.                     :

                                           COMPLAINT

        Plaintiff Robert Burns, Administrator of the Estate of Ryan Burns, by and through his

attorney, Brian Zeiger, Esquire, hereby alleges the following:

                                   JURISDICTION & VENUE

   1.     Plaintiff alleges civil rights violations under 42 U.S.C. § 1983; this Court has jurisdiction

pursuant to 28 U.S.C. § 1343 and 28 U.S.C. § 1331.

   2.     Defendant PrimeCare Medical, Inc. (“PrimeCare”) is a resident of the Western District

of Pennsylvania and a portion of the underlying action occurred in the Western District of

Pennsylvania; accordingly, venue is proper pursuant to 28 U.S.C. § 1391(c)(2) and (d).

                                             PARTIES

   3.     Plaintiff Robert Burns is the Administrator of the Estate of Ryan Burns, with a mailing

address of 423 Lime Hollow Road, Apt. 2, Verona, PA 15147.

   4.     Defendant PrimeCare is a private subcontractor of Defendant Butler County, which was

contracted to provide medical care to inmates at the Butler County Prison, located at 202 S.

Washington St., Butler, PA 16001.

   5.     Defendant Butler County owns, operates, controls, and promulgates policies governing

the Butler County Prison, located at 202 S. Washington St., Butler, PA 16001.

   6.     Defendant Sheriff Michael Slupe is the Chairman of the Prison Board for Butler County

and was the head decisionmaker for policy at the Butler County Prison at all times relevant to the

instant action, including but not limited to medical care to inmates, medical subcontracting, and



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                                                   2
          Case 2:25-cv-00814-CBB         Document 1          Filed 06/13/25   Page 3 of 18




medical budgets related to the subcontracting to PrimeCare, conducting business at 202 S.

Washington St., Butler, PA 16001. He is sued both his individual and official capacities.

    7.     Defendants Sheila Stovar, Shannon George, Kristin Pigza, Cheyenne Safranek, Monica

McCabe, and John Doe Medical Provider (“individual PrimeCare Defendants”) are adult

individuals who, at all relevant times, were employed by PrimeCare at the Butler County Prison

as health care providers, conducting business at 202 S. Washington St., Butler, PA 16001. All of

the individual PrimeCare Defendants’ actions or inactions were taken under color of state law.

These Defendants are sued in their individual capacity.

    8.     Defendants Correctional Officer Bauer, CO Denny, Cpt. Popinsky, Sgt. Emery, CO

McClure, and John Doe Correctional Officer are adult individuals who, at all relevant times, were

employed by Butler County Prison. All of these Defendants’ actions or inactions were taken under

color of state law. Defendants are sued in their individual capacity.

                                   FACTUAL BACKGROUND

    9.     Plaintiff re-alleges each and every averment set forth previously, as if the same were set

forth here in full.

    10.    On or about July 14, 2023, Plaintiff’s decedent, Ryan Burns, killed himself while being

detained in the Butler County Prison (“BCP”).

            Facts Specific to Decedent in Regard to Individual PrimeCare Defendants

    11.    Immediately upon intake to BCP on July 11, 2023, Mr. Burns denied to Defendant

McCabe that he was suicidal, or that he had previously attempted to kill himself, or that he had

tried to commit suicide by hanging.




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         Case 2:25-cv-00814-CBB         Document 1          Filed 06/13/25   Page 4 of 18




   12.    However, based upon information and belief, the PrimeCare Defendants knew that the

decedent had recently been housed at the Mercer County Prison and had received mental health

treatment there.

   13.    Defendant McCabe housed the decedent in medical cell 5.

   14.    Based upon information and belief, while in medical cell 5, the decedent was to be

watched every 15 minutes to prevent suicide.

   15.    Even though he was in a medical watch cell where he was supposed to be monitored

every 15 minutes, the decedent had access to instruments capable of aiding him in attempting

suicide by hanging.

   16.    Further, Defendant McCabe prescribed both Klonopin and Clonidine; these two

medications, when combined, are known in the medical community to create an interaction that

causes severe depression and suicidality in the patient.

   17.    Further, the dosage of Klonopin indicated on the decedent’s chart greatly exceeds any

reasonable daily dosage.

   18.    Further based upon information and belief, the combination of an excessive amount of

Klonopin with Colonidine during heroin withdrawal causes suicidal ideation.

   19.    On July 14, 2023, Defendants Stovar, George, Pigza, Safranek, McCabe, and Doe failed

to properly check on the decedent every 15 minutes per Defendant McCabe’s previous order. Each

of these Defendants individually and personally had a responsibility to check on the decedent, and

each of them individually and personally failed to check on the decedent.

   20.    Further, on July 14, 2023, Defendants CO Bauer, CO Denny, Cpt. Popinsky, Sgt. Emery,

and CO McClure failed to properly check on the decedent every 15 minutes per Defendant


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                                                  4
         Case 2:25-cv-00814-CBB           Document 1          Filed 06/13/25    Page 5 of 18




McCabe’s previous order. Each of the Defendants in this paragraph individually and personally

had a responsibility to check on the decedent, and each of the named defendants individually and

personally failed to check on the decedent.

   21.      On July 14, 2023, Mr. Burns hanged himself from a shower rod by a sheet knotted around

his neck.

   22.      Defendants attempted to revive Mr. Burns, but he never regained consciousness. Mr.

Burns suffered injuries to his head, face, and neck.

Facts Specific to Supervisory, Vicarious, and Training Liability regarding Defendants Butler
                                   County and PrimeCare

   23.      Defendants Butler and PrimeCare knew or should have known of the institutional

deficiencies in the care and services they provided to the inmates in the Butler County Prison, with

whose care they were charged.

   24.      Specifically, there was an instituted policy at the time of Mr. Burns’s detention at Butler

County Prison of cost-cutting measures and inadequate care for inmates with extreme mental

health needs.

   25.      More specifically, Defendants Sneddon, Passarelli, and Slupe were personally

responsible for implementing policies and procedures at the Butler County Prison at the time Mr.

Burns was an inmate.

   26.      Defendants Sneddon, Passarelli, and Slupe oversaw all prison operations and were

responsible for hiring and firing all employees of the Butler County Prison.

   27.      Defendants Sneddon, Passarelli, and Slupe had the authority to enact and enforce

corrections policy at the Butler County Prison.



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         Case 2:25-cv-00814-CBB           Document 1          Filed 06/13/25   Page 6 of 18




   28.     Defendants Sneddon, Passarelli, and Slupe implemented the policy of not having a full-

time psychologist or psychiatrist on staff at the Butler County Prison.

   29.     Defendants Sneddon, Passarelli, and Slupe decided to subcontract medical care to

inmates at the Butler County Prison to PrimeCare, and determined the budget for PrimeCare.

   30.     Defendant Sneddon, Passarelli, and Slupe had the authority to enact and enforce medical

policy at the Butler County Prison.

   31.     Further, based on information and belief, PrimeCare was paid a “flat fee” for care to

inmates at the Butler County Prison, thereby incentivizing PrimeCare to provide the least amount

of care to inmates at the Butler County Prison.

   32.     According to the Bureau of Justice Statistics, suicide has been the second leading cause

of death in local prisons since 2000, behind illness.

   33.     Butler County Prison has a history of failing to monitor inmates like Mr. Burns, failing

to prevent foreseeable suicides, failing to provide adequate healthcare, and failing to ensure that

security protocols are being followed to protect inmate safety.

   a. In 2021, inmate David Demharter killed himself in Butler County Prison after Butler
         County and its contracted healthcare providers failed to perform any suicide risk
         assessment or treatment, despite Mr. Demharter’s known mental health disorders and
         suicidal ideation. Stolar-Demharter v. Wexford Health Sources, Inc., et al., No. 23-87.
   b. In 2015, Butler County Prison healthcare providers failed to properly assess and treat
         inmate Richard Townsend’s brain injury, causing him to suffer acute and chronic
         subdural hemorrhage that resulted in his wrongful death. Townsend v. Wexford Health
         Sources, Inc., et al., No. 16-cv-1428.
   c. In 2010, Butler County Prison failed to protect inmate Dameine Austin from being
         violently assaulted by other inmates, despite Mr. Austin’s repeated reports of threats
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                                                    6
          Case 2:25-cv-00814-CBB           Document 1          Filed 06/13/25    Page 7 of 18




          from his attackers; Mr. Austin was also denied adequate medical care, causing him to
          sustain serious injuries. Austin v. County of Butler, et al., No. 12-cv-534.
   d. In 2014, Butler County Prison staff ignored Adam Dinsmore’s severe medical
          symptoms and repeated requests to be evaluated at a hospital; Mr. Dinsmore was
          eventually hospitalized and placed in intensive care for a collapsed lung and a liver
          lesion, from which he sustained permanent injuries. Dinsmore v. County of Butler, et
          al., No. 16-cv-752.
   e. In 2022, Butler County Prison staff allowed inmate Kristoffer Ion to be brutally beaten;
          the prison medical providers then failed to provide prompt and adequate medical care,
          causing Mr. Ion to suffer injuries and damages. Ion v. County of Butler, et al., No. 24-
          cv-912.
   f. In 2006, Butler County Prison inmate James Raub was not properly assessed and
          treated for serious medical symptoms, causing him to sustain severe and permanent
          injuries. Raub v. County of Butler, 08-cv-511.
   g. In 2022, Butler County Prison refused to provide medical treatment for detainee Ryan
          Williams’s serious medical symptoms, causing him to sustain avoidable injuries and
          pain. Williams v. County of Butler, et al., 24-cv-625.

   34.        Continually, in the deaths and injuries cited in the preceding paragraph, Butler County

Prison has historically failed to properly train, hire, and supervise correctional officers,

correctional supervisors, mental health professionals, mental health doctors, and mental health

nurses.

   35.      Continually, in the incidents cited, the employees of Butler County Prison have not

followed the rules promulgated by Defendant Butler County regarding the monitoring of inmates

who are suicidal and/or suffering from behavioral health disorders.



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                                                     7
         Case 2:25-cv-00814-CBB          Document 1          Filed 06/13/25   Page 8 of 18




   36.     Continually, in the incidents cited, Defendant Butler County does not have proper

policies and practices in place to ensure staff members communicate suicidal risk to each other

among different units.

   37.     Continually, in the incidents cited, Defendant PrimeCare has not provided proper

medical care to inmates due to cost-saving techniques that routinely deprive inmates of needed

medical care.

                                     COUNT I:
                 FAILURE TO PROTECT AND DENIAL OF MEDICAL CARE
                FOURTEENTH AMENDMENT – PURSUANT TO 42 U.S.C § 1983
                           PLAINTIFF V. ALL DEFENDANTS

   38.     Plaintiff alleges each and every allegation contained in the foregoing paragraphs of this

Complaint and incorporates them herein by reference as if the same were set forth at length.

   39.     Mr. Burns had a known history of severe mental illness and a history of attempted

suicide.

   40.     Mr. Burns cooperated with corrections officers and health care providers regarding his

mental health treatment.

   41.     Mr. Burns entered BCP in an obviously fragile condition due to the severity of his mental

health condition.

   42.     Despite showing signs of continuing behavioral health concerns, Mr. Burns was

supposed to be watched every 15 minutes while under the care and supervision of Defendant Butler

County.

   43.     Defendants acted deliberately, recklessly, and with a conscious disregard of the obvious

risk that Mr. Burns would commit suicide.



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                                                   8
         Case 2:25-cv-00814-CBB          Document 1          Filed 06/13/25   Page 9 of 18




   44.     Defendants’ actions caused Mr. Burns to needlessly suffer, served no penological

purpose, and caused him to commit suicide to end his mental anguish.

   45.     As a direct and proximate cause of Defendants’ actions, Mr. Burns suffered emotional

injury, immense physical pain, humiliation, fear, physical injuries, and death.

         WHEREFORE, Plaintiff claims of Defendants a sum in excess of one hundred and fifty

thousand dollars ($150,000) in compensatory damages, delay damages, interest, and allowable

costs of suit, and brings this action to recover same.

                               COUNT II:
                         SUPERVISOR LIABILITY
         FOURTEENTH AMENDMENT – PURSUANT TO 42 U.S.C. § 1983
     PLAINTIFF V. DEFENDANTS BUTLER COUNTY, PRIMECARE, SNEDDON,
                        PASSARELLI, AND SLUPE

   46.     Plaintiff alleges each and every allegation contained in the foregoing paragraphs of this

Complaint and incorporates them herein by reference as if the same were set forth at length.

   47.     Defendants were deliberately indifferent to the needs of mentally ill persons who were

under their supervision at BCP.

   48.     Upon information and belief, Defendants were aware that certain policies and customs

posed a grave danger to behavioral health patients detained in BCP, including Mr. Burns.

   49.     Defendants maintained a policy of inadequately staffing the facility with staff who could

properly address inmates with severe mental illnesses.

   50.     In spite of such knowledge, Defendants did nothing to implement a corrective policy or

custom; Defendants knew this inaction posed a serious danger to inmates and pretrial detainees,

including Mr. Burns.




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                                                   9
         Case 2:25-cv-00814-CBB          Document 1         Filed 06/13/25    Page 10 of 18




   51.     Defendants were deliberately indifferent to the well-being of the behavioral health

patients detained in BCP, including Mr. Burns.

   52.     Defendants knew of their supervisory failures and knew that mentally ill detainees were

not receiving adequate treatment, but deliberately failed to correct the problem.

   53.     Defendants were aware of a substantial risk that mentally ill detainees would harm

themselves or commit suicide because of inadequate care.

   54.     Defendants were deliberately indifferent to the needs of mentally ill persons, specifically

those with a history of substance abuse, who were detained at BCP under their supervision.

   55.     Defendants were deliberately indifferent to the consequences of their established policies

and customs.

   56.     Defendants’ establishment and maintenance of the above-mentioned policies and

customs directly caused Mr. Burns to be deprived of his constitutional rights.

   57.     As a direct and proximate result of Defendants’ deliberate indifference, Mr. Burns

suffered immense physical pain, humiliation, fear, physical injuries, and death. Moreover, Mr.

Burns’s family suffered mental anguish and a loss of companionship, comfort, financial support,

and guidance.

   58.     Plaintiff also makes a claim for such injuries, damages, and consequences resulting from

the incident of which he has no present knowledge.

         WHEREFORE, Plaintiff claims of Defendants a sum in excess of one hundred and fifty

thousand dollars ($150,000) in compensatory damages, delay damages, interest, and allowable

costs of suit, and brings this action to recover same.




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                                                  10
         Case 2:25-cv-00814-CBB          Document 1          Filed 06/13/25    Page 11 of 18




                                  COUNT III:
                              MUNICIPAL LIABILITY
              FOURTEENTH AMENDMENT – PURSUANT TO 42 U.S.C. § 1983
            PLAINTIFF V. DEFENDANTS BUTLER COUNTY AND PRIMECARE

   59.      Plaintiff alleges each and every allegation contained in the foregoing paragraphs of this

Complaint and incorporates them herein by reference as if the same were set forth at length.

   60.      Defendants promulgated and maintained policies and customs, as pled at length above,

which were the moving force that caused Mr. Burns’s constitutional and statutory rights to be

violated.

   61.      Defendants failed to adhere to protocol in detecting and safeguarding inmates suspected

of contemplating suicide, where they admitted he needed increased monitoring, yet failed to follow

their own protocol.

   62.      Defendants maintained a policy of staffing the facility without proper medical

professionals to treat mentally ill inmates with a particular vulnerability to suicide.

   63.      Defendants maintained a custom among corrections officers and behavioral healthcare

providers of not sharing information about inmate and detainee behavioral health status,

symptoms, history, and warning signs.

   64.      Defendants maintained a custom among behavioral healthcare providers to look back

only at the most recent healthcare record.

   65.      All of the pled policies and customs were implemented before, during, and after Mr.

Burns’s detention at BCP.

   66.      Defendants knew of the dangers posed by these policies and customs.

   67.      Specifically, Defendants were fully aware prior to the decedent’s incarceration of the

extreme danger posed by housing seriously mentally ill inmates and detainees, with a history of
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                                                   11
         Case 2:25-cv-00814-CBB          Document 1          Filed 06/13/25   Page 12 of 18




prior suicide attempts, in a housing unit where detainees would be able to access instruments

capable of aiding in suicide by hanging.

   68.      Defendants knew of prior deaths at the prison as cited supra, yet no corrective actions

were taken.

   69.      Had Defendants promulgated appropriate protocol or custom, or adequately trained

and/or supervised the individual Defendants, Mr. Burns would have received appropriate care and

supervision.

   70.      Defendants were deliberately indifferent to the constitutional rights of Mr. Burns.

   71.      Defendants’ policies and customs were a direct and proximate cause of Plaintiff’s

injuries and damages.

   72.      As a direct and proximate result of Defendants’ policies and customs, Mr. Burns suffered

immense physical pain, humiliation, fear, physical injuries, and death. Moreover, Mr. Burns’s

family suffered mental anguish and a loss of companionship, comfort, financial support, and

guidance.

   73.      Plaintiff also makes a claim for such injuries, damages, and consequences resulting from

the incident of which he has no present knowledge.

         WHEREFORE, Plaintiff claims of Defendants a sum in excess of one hundred and fifty

thousand dollars ($150,000) in compensatory damages, delay damages, interest, and allowable

costs of suit, and brings this action to recover same.




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                                                   12
         Case 2:25-cv-00814-CBB         Document 1          Filed 06/13/25   Page 13 of 18




                                   COUNT IV:
                       WRONGFUL DEATH (PENNSYLVANIA LAW)
                          PLAINTIFF V. ALL DEFENDANTS

   74.     Plaintiff alleges each and every allegation contained in the foregoing paragraphs of this

Complaint and incorporates them herein by reference as if the same were set forth at length.

   75.     Plaintiff Robert Burns, individually and as Administrator of the Estate of Ryan Burns,

brings this action on behalf of the beneficiaries under and by virtue of the Wrongful Death Act, 42

Pa.C.S. § 8301, and the applicable Rules of Civil Procedure.

   76.     Decedent Ryan Burns was survived by his parents, who are beneficiaries under the

Wrongful Death Act.

   77.     As a result of the conduct of Defendants, as set forth herein, decedent Ryan Burns was

caused grave injuries and death, resulting in the entitlement to damages by the beneficiaries under

the Wrongful Death Act.

   78.     Plaintiff Robert Burns, individually and as Administrator of the Estate of Ryan Burns,

claims all expenses recoverable under the Wrongful Death Act, including but not limited to

damages for medical, funeral, and burial expenses, as well as expenses of administration

necessitated by reason of the injuries causing Ryan Burns’s death.

   79.     On behalf of the Wrongful Death Act beneficiaries, the Administrator claims damages

for services provided of which could have been expected to have been performed in the future.

   80.     On behalf of the Wrongful Death Act beneficiaries, the Administrator claims damages

for all pecuniary loss suffered by the beneficiaries.




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                                                  13
         Case 2:25-cv-00814-CBB          Document 1         Filed 06/13/25     Page 14 of 18




   81.     On behalf of the Wrongful Death Act beneficiaries, the Administrator claims damages

for all loss of comfort, society, guidance, and tutelage that the beneficiaries may have received

from the decedent by the beneficiaries as a result of decedent’s untimely death.

   82.     On behalf of the Wrongful Death Act beneficiaries, the Administrator claims damages

for the full measure of damages, including punitive damages, allowed under the Wrongful Death

Act of Pennsylvania and the decisional law interpreting said Act.

         WHEREFORE, Plaintiff demands damages, including punitive damages, against

Defendants, jointly and severally, in excess of one hundred and fifty thousand dollars ($150,000)

and in excess of local arbitration limits, exclusive of interests and costs.

                                    COUNT V:
                       SURVIVAL ACTION (PENNSYLVANIA LAW)
                           PLAINTIFF V. ALL DEFENDANTS

   83.     Plaintiff alleges each and every allegation contained in the foregoing paragraphs of this

Complaint and incorporates them herein by reference as if the same were set forth at length.

   84.     Plaintiff Robert Burns, individually and as Administrator of the Estate of Ryan Burns,

brings this Survival Action on behalf of the Estate of Ryan Burns under and by virtue of 42 Pa.C.S.

§ 8302, and the applicable Rules of Civil Procedure and the decisional law interpreting the Act.

   85.     As a result of the negligence of all Defendants set forth herein, Ryan Burns was caused

grave injuries and death, resulting in the entitlement to damages by his Estate under the Survival

Act.

   86.     As a result of the death of Ryan Burns, his Estate has been deprived of the economic

value of his life expectancy, and Plaintiff claims under the Survival Act damages for all pecuniary




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                                                  14
         Case 2:25-cv-00814-CBB          Document 1          Filed 06/13/25    Page 15 of 18




losses suffered by the Estate as a result of his decedent’s death, including all loss of income,

earnings, retirement income, benefits, and Social Security income.

   87.      The Administrator further claims, under the Survival Act, the total amount that the

decedent would have earned in the future, minus the costs of personal maintenance.

   88.      The Administrator further claims, under the Survival Act, damages for the conscious

pain and suffering endured by decedent prior to death, including physical pain and suffering, and

mental pain and suffering leading to decedent’s death.

   89.      The Administrator further claims, under the Survival Act, all damages, including

punitive damages, recoverable pursuant to 42 Pa.C.S. § 8302, and the decisional law interpreting

said Act.

         WHEREFORE, Plaintiff demands damages, including punitive damages, against

Defendants, jointly and severally, in excess of one hundred and fifty thousand dollars ($150,000),

and in excess of local arbitration limits, exclusive of interests and costs.

                                 COUNT VI:
            NEGLIGENCE – VICARIOUS LIABILITY (PENNSYLVANIA LAW)
                    PLAINTIFF V. DEFENDANT PRIMECARE

   90.      Plaintiff alleges each and every allegation contained in the foregoing paragraphs of this

Complaint and incorporates them herein by reference as if the same were set forth at length

   91.      The negligence of Defendant PrimeCare, by and through its agents, servants, and/or

employees, within the course and scope of their agency and employment consists of the following:

             a. negligently and recklessly failing to properly communicate and review treatment

                 records to ensure that mental health providers are fully informed of signs and

                 symptoms of suicide risk;


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                                                   15
         Case 2:25-cv-00814-CBB          Document 1         Filed 06/13/25     Page 16 of 18




            b. negligently and recklessly failing to properly administer necessary medication to

                prevent Mr. Burns from inflicting self-harm;

            c. negligently and recklessly failing to properly maintain and monitor records in order

                to discover noncompliance with necessary medication;

            d. negligently and recklessly discharging Mr. Burns from suicide watch;

            e. negligently and recklessly allowing Mr. Burns access to instruments he could use

                to kill himself;

            f. negligently and recklessly failing to communicate to superiors and peers Mr.

                Burns’s previous suicide attempt and the severity of Mr. Burns’s mental illness;

            g. negligently and recklessly failing to provide appropriate supervision to Mr. Burns;

            h. negligently and recklessly not monitoring Mr. Burns while he was in their care; and

            i. failing to meet the standard of care for mental health patients in United States.

         WHEREFORE, Plaintiff demands damages, including punitive damages, against

Defendants, jointly and severally, in excess of one hundred and fifty thousand dollars ($150,000),

and in excess of local arbitration limits, exclusive of interests and costs.

                             COUNT VII:
 NEGLIGENT HIRING, RETENTION, AND SUPERVISION (PENNSYLVANIA LAW)
                PLAINTIFF V. DEFENDANT PRIMECARE

   92.     Plaintiff alleges each and every allegation contained in the foregoing paragraphs of this

Complaint and incorporates them herein by reference as if the same were set forth at length.

   93.     The negligence of Defendant PrimeCare in the hiring, retention, and supervision of

employees and or agents consists of the following:




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                                                  16
       Case 2:25-cv-00814-CBB            Document 1         Filed 06/13/25     Page 17 of 18




           a. employing and retaining employees who were not competent in responding to

               inmates’ threats to harm themselves;

           b. employing and retaining employees who were not competent in communicating

               with inmates who are mentally ill and/or had threatened to harm themselves;

           c. employing and retaining employees who were not competent in responding to

               inmates who are unresponsive in their cells;

           d. employing and retaining employees who were not competent in reporting

               compliance and noncompliance with medical treatment;

           e. employing and retaining employees who were not competent in performing rounds

               and surveillance of inmates;

           f. failing to properly train employees in responding to inmates’ threats to harm

               themselves;

           g. failing to properly train employees to communicate with inmates who are mentally

               ill and/or had threatened to harm themselves;

           h. failing to properly train employees to learn from the mental health providers when

               an inmate had previously been housed in the medical wing because the inmate had

               threatened to harm and/or kill themselves; and

           i. failing to properly train its employees to meet the standard of care for mental health

               patients in United States.

       WHEREFORE, Plaintiff demands damages, including punitive damages, against

Defendants, jointly and severally, in excess of one hundred and fifty thousand dollars ($150,000),

and in excess of local arbitration limits, exclusive of interests and costs.


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                                                  17
      Case 2:25-cv-00814-CBB         Document 1          Filed 06/13/25   Page 18 of 18




                                     JURY DEMAND

      Plaintiff hereby demands a trial by jury as to each count and each Defendant.



                                                     Respectfully submitted,



June 13, 2025                                        /s/Brian J. Zeiger
DATE                                                 BRIAN J. ZEIGER
                                                     IDENTIFICATION NO. 87063

                                                     /s/Laura Zipin
                                                     LAURA ZIPIN
                                                     IDENTIFICATION NO. 324914

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                                               18
